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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

ERIC DWAYNE THOMPSON,                             §
                                                  §
        Plaintiff,                                §
                                                  §
v.                                                §           Civil Action No. 3:23-CV-2056-L
                                                  §
CITY OF DALLAS, IVORY R. DODSON,                  §
THOMAS GUERRERO, TERRENCE J.                      §
FOREST, DINA M. RODRIGUEZ, AND                    §
BRIAN J. HARTGER,                                 §
                                                  §
        Defendants.                               §


                           PLAINTIFF’S ORIGINAL COMPLAINT


        COMES NOW, Plaintiff, Eric Dwayne Thompson (“Mr. Thompson” o r “Plaintiff”),

by and through undersigned counsel, and files this Original Complaint against Defendants, City

of Dallas, as well as Dallas Police Department’s Officers Ivory R. Dodson (“Dodson”),

Thomas     Guerrero    (“Guerrero”),     and    Brian   J.   Hartger    (“Hartger”)     (collectively

“Defendants”); related to injuries and civil rights violations against Plaintiff, and for cause of

action shows as follows:

                                  NATURE OF THE ACTION

1.      This is a civil action arising under the United States Constitution, particularly under the

provisions of the Due Process Clause and Fourth Amendment of the United States Constitution,

and under federal law and in violation of his civil rights pursuant to 42 U.S.C. § 1983. Plaintiff is

seeking damages against Defendants for a pattern of police misconduct resulting in wrongful

arrest and malicious prosecution of Plaintiff, under the color of law, with the intent and for the

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purpose of depriving Eric Dwayne Thompson of rights secured under the Constitution and laws

of the United States.

2.      Plaintiff alleges that Defendant City of Dallas and its Policymakers, specifically the

Dallas City Counsel, Mayor Eric Johnson, and Chief of Police Eddie Dodson (collectively

“Policymakers”) failed to properly train, supervise, screen, discipline, transfer, counsel, or

otherwise control officers who are known, or who should have been known to engage in criminal

investigations without reasonable suspicion and/or false arrest including those officers repeatedly

accused of such acts. Policymakers had a duty, but failed to implement and/or enforce policies,

practices, and procedures for the Defendants that respected Plaintiff’s constitutional rights.

Defendant City of Dallas and the Policymakers failed to adequately supervise and discipline

officers, implement the necessary policies and implementation of unconstitutional policies

caused Plaintiff’s unwarranted damages. Defendant City of Dallas’ officers consciously

disregarded the rights of Plaintiff, knowing that the Policymakers would approve and/or ratify

their actions.

3.      Specifically, on August 13, 2021, at approximately 11:40 a.m., Plaintiff was a passenger

in a 2004 silver Taurus (Texas plate #MLC7245; VIN# 1FAFP52264A191303) (“vehicle”),

being driven by Kendra James (“James”). Defendants Dodson and Guerrero executed a traffic

stop on the vehicle for making an improper wide right turn and expired registration. Defendant

Guerrero immediately approached the passenger side of the vehicle and began asking Plaintiff

questions about his identity.

4.      In the meantime, Defendant Dodson was speaking to James regarding the alleged traffic

offense. Defendant Dodson explained that the registration on the vehicle was expired and

requested to know the reason for the same. James provided Defendant Dodson with proof of

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insurance and her identification card. All the while, Plaintiff continued to advise Defendant

Guerrero that he did not want to answer any questions and did not consent to Defendant

Guerrero’s investigation. Defendant Dodson then turned her attention from investigating the

traffic stop and focused her attention on obtaining Plaintiff’s name. Plaintiff refused to provide

the same to Defendant Dodson as well.

5.      Defendants Dodson and Guerrero’s questioning then led to the investigative stop lasted

longer than necessary to effect the purpose of the stop. Specifically, Defendant Dodson had all

information to check James’ driver's license and determining whether there are any outstanding

warrants, but she failed to do so. Defendant also prolonged the investigative detention despite

having completed the inspection for the vehicle’s registration and proof of insurance.

5.      At all relevant times, Plaintiff knew he had done nothing wrong, and continued to refuse

to answer any of Defendants’ questions. Defendants Dodson and Guerrero continued the

nonconsensual investigation of Mr. Thompson, requesting something with Plaintiff’s name on it.

At the same time, Defendant Guerrero saw an ID badge containing Plaintiff’s name hanging on

the rearview mirror and wrote it on a notepad and provided it to Defendant Dodson after

approximately six (6) minutes into the stop. The hanging ID badge did not present any evidence

of a crime that was immediately apparent to the officer.

6.      Defendant Dodson took the notepad while Defendant Guerrero continued to speak to

Plaintiff. Additional Dallas Police Department (“DPD”) officers, Terrence J. Forest (“Forest”)

and Dina M. Rodriguez (“Rodriguez”) arrived on the scene as Defendant Dodson was sitting in

her unit, calling Defendant Hartger, her supervisor, to the scene. Defendant Dodson advised

Forest and Rodriguez that Plaintiff was refusing to give his information, that he was being “a

little extra,” had already requested a supervisor and that the Sargent was coming, and that she

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“didn’t know what was up with him.” She then advised that Defendant Guerrero “possibly” saw

a name on a badge that Plaintiff had taken down from the rearview mirror, so he “might be

wanted.” Based on all information and belief, at approximately eight (8) minutes into the stop,

Defendant Dodson began running a check on the name shown on the ID badge and found who

she thought was Plaintiff.

7.      Defendant Dodson then instructed Guerrero, Foster, and Rodriguez to help remove

Plaintiff from the vehicle and he was placed in handcuffs. Defendant Dodson advised that he was

being arrested for outstanding warrants and removed Plaintiff’s belongings from his pockets.

Plaintiff instructed Defendant Dodson to give James everything, and while Defendant Dodson

was doing so, she advised James that she never looked at the proof of insurance and

identification card that James provided at the time of the stop. James then handed the proof of

insurance to Foster, who reviewed the same. The documents were given back to James, and

Defendant Dodson advised James that Plaintiff was being taken to jail for “little ticket warrants”

and “failure to ID.” Defendant Dodson gave James her identification card back, and James was

released from the traffic stop without a citation or even a verbal warning seventeen (17) minutes

after the police-observed traffic violation.

8.      At nineteen minutes and twenty-five seconds (19:25) into the traffic stop, while Plaintiff

was already in handcuffs and in the back of the unit, Defendant Dodson contacted dispatch

requesting for the warrants to be confirmed.

9.      While Defendant Dodson was waiting for confirmation, Defendant Hartger, arrived on

scene at Plaintiff’s request. After a minute and fourteen seconds (1:14) into their conversation,

Defendant Hartger admitted to Plaintiff that he was within his rights to remain silent when he did

not violate any traffic infraction or violate any laws. Defendant Hartger further confirmed that

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Plaintiff did nothing wrong by sitting in his seat and refusing to identify himself. Nevertheless,

Defendant Hartger upheld Plaintiff being arrested stating that it was unusual and/or suspicious

for Plaintiff to refuse to give his name. Defendant Hartger further indicated that because of the

area they were in, the Officers decided to continue detention to check the name seen inside the

car against the warrants.

10.        After twenty minutes and thirty-five seconds (20:35), the operator reported to Defendant

Dodson that there were four (4) warrants. Thereafter, Defendant Dodson stood with the other

officers on scene laughing as she advised, “I get to do the report for this one!” Noticing the wry

expression on her face, Foster laughed that she’d do it “with pleasure!” and the DPD officers all

laugh together as Defendant Dodson shrugs. At twenty-one minutes and one second (21:01) after

the stop was initiated, Defendant Dodson suggests that because of “everything he was doing,”

she was “like, he got warrants” just because of “the way he was acting and going about.”

11.        At the same time, Defendant Guerrero indicated that he initially shared the same thought,

but the “more and more Plaintiff talked” came to conclude that “maybe he really is just trying to

prove a point.” It was not until this conversation that Defendant Guerrero ever suggested that

Plaintiff did anything wrong but saying “I guess not” following the prolonged investigation to

allowed Defendant Dodson to become lucky enough to find the active warrants.

12.        While speaking to her colleagues Defendant Dodson admits that it is “perfectly fine” for

someone not to answer Officer’s questions “if you’re clear and stuff.” Nevertheless, Defendant

Dodson reported that Mr. Thompson “intentionally” gave “a false and fictitious name,

residence address, and date of birth.”1



1
 This is a violation of Texas Penal Code § 38.02, a Class B misdemeanor, which carries a punishment range of up to 180 days in jail, a fine of as
much as $2,000.00 or both.
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13.    Plaintiff was then booked in under the case carrying cause number MB2158878 in

Dallas County for Failure to identify Fugitive from Justice. Plaintiff remained in jail from

August 13, 2021, until August 19, 2021, when he was released from the Dallas County jail on a

personal recognizance bond. On March 32, 2022, the State of Texas dismissed the charges

without incident. Based upon all information and belief, this dismissal followed the review why

the District Attorney who found that no probable cause existed believe the Plaintiff committed

the crime.

14.    Indeed, no probable cause ever existed to believe that Mr. Thompson committed the

crime of failure to identify fugitive from justice. Instead, acting in accordance with the policies

and practices of DPD and the City of Dallas, Defendants, individually and collectively, violated

Mr. Thompson’s Fourth and Fourteenth Amendment rights under the Constitution of the United

States by both engaging in and allowing acts leading to his unlawful arrest and prosecution,

including but not limited to: woefully mismanaging a traffic stop investigation, unjustifiably

seizing Plaintiff during a traffic stop when the time reasonably required to complete the mission

of issuing a ticket had passed, prolonging the investigative detention longer than reasonably

necessary to effectuate the purpose of the stop, and, subsequently, relying on an item in plain

view to ID Plaintiff when it was not immediately apparent to the officer that the item is

evidence of a crime to procure an arrest warrant against Mr. Thompson despite knowing of the

statement’s falsity; knowingly providing a incident report and narrative in support of the arrest

warrant that contained several material omissions and false statements, without which, probable

cause could not have been found; and arresting and incarcerating Mr. Thompson without

sufficient probable cause.



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15.    For these civil rights violations and other causes of action discussed herein, Plaintiff

seeks answers and compensation for damages.

                     SUBJECT MATTER JURISDICTION AND VENUE

16.    Jurisdiction exists in this court pursuant to 28 U.S.C. §§ 1331 and 1343 as this action

is brought under, inter alia, the Fourth Amendment of the United States Constitution and 42

U.S.C. §1983, to redress the deprivation of rights, privileges and immunities guaranteed to

Plaintiff, by constitutional and statutory provisions.

17.    Venue is proper in this court because the causes of action occurred within the Northern

District of Texas.

                        PARTIES AND PERSONAL JURISDICTION

18.    Plaintiff, Eric Dwayne Thompson, is an individual residing in Dallas County, Texas. The

last three numbers of his Texas license are 246. The last three digits of his social security

number are 752.

19.    Defendant City of Dallas, Texas is a local government entity within the State of Texas,

located within Dallas County, Texas. The City of Dallas, Texas, through its elected and

appointed officers, is vested with the government and management of municipal law

enforcement functions, such DPD. At all times relevant to this action, DPD was an agency of the

City of Dallas through which the city fulfills its policing functions. DPD sets city-wide policies

for the police officers it employs. Employees (and former employee(s)), agents, and officers of

the City of Dallas were responsible for the various violations of law in this case.

20.    At all times relevant to this action, Defendant Dodson (badge number was 10848), who

is being sued in her individual capacity, was an officer employed by the City of Dallas as a DPD

police officer. All of Defendant Dodson’s actions and/or inactions were taken under color of

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state law and within the scope of her employment as an DPD officer. She is being sued in her

individual capacity.

21.     At all times relevant to this action, Defendant Guerrero (badge number was 10801), who

is being sued in his individual capacity, was an officer employed by the City of Dallas as a DPD

police officer. All of Defendant Guerrero’s actions and/or inactions were taken under color of

state law and within the scope of his employment as an DPD officer. He is being sued in his

individual capacity.

22.     At all times relevant to this action, Defendant Hartger (badge number was 8046) was

employed by the City of Dallas as an DPD police sergeant. All of Defendant Hartger’s actions

and/or inactions were taken under color of state law and within the scope of his employment as

an DPD officer. He is being sued in his individual capacity.

                                            FACTS

A.      The Traffic Stop

23.     On or around August 13, 2021, at approximately 11:35 am, Plaintiff was a passenger in

the vehicle driven by his significant other, James. He was preparing to go to work after meeting

his grandchildren to give them the school supplies that he had recently purchased for them.

24.     James was stopped at a stop sign at the intersection of Independence Drive and West

Camp Wisdom Road, when the DPD officers pulled behind the vehicle. Defendant Dodson was

driving the DPD squad car.

25.     As the DPD squad car approached the stop sign where James was at a standstill, James

turned the vehicle into far-left lane of westbound West Camp Wisdom Road. Defendant Dodson

approached the stop sign, and then followed in the path of James, making a wide right turn into

the far-left lane of West Camp Wisdom Road and began to quickly accelerate. Defendant

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Dodson pulled behind the vehicle, as it was pulling into a left-hand turn lane of the business

located at 4201 West Camp Wisdom Road, Dallas, Texas 75237.

26.        According to narrative conveyed by Defendant Dodson in the incident report, a

registration check of the vehicle also revealed that the Ford's registration had been expired since

August of 2020.

27.        Defendants Dodson and Guerrero conducted a traffic stop of the vehicle, with Dodson

approaching the driver’s side and Guerrero approaching the passenger side where Plaintiff was

seated.

B.         The Investigative Detention

28.        At the time of the incident, on or around August 13, 2021, at approximately 11:35 am, the

DPD officers indicated that the vehicle was stopped for an improper right turn.2 They also

indicated when speaking to James and Mr. Thompson, that prior to stopping the vehicle, they had

determined that the vehicle’s registration was expired. 3

29.        Defendant Dodson and Defendant Guerrero knew or should have known that a seizure

justified only by a police-observed traffic violation becomes unlawful if it is prolonged beyond

the time reasonably required to complete the mission of issuing a ticket. Likewise, Defendants

knew or should have known that an investigation following a traffic stop involves checking the

operator’s driver's license, determining whether there are any outstanding warrants, and

inspecting for registration and proof of insurance.4


2
  Tex. Transp. Code § 545.101(a): To make a right turn at an intersection, an operator shall make both the approach and the turn as closely as
practicable to the right-hand curb or edge of the roadway.
3
  Tex. Transp. Code § 502.407(a) A person commits an offense if, after the fifth working day after the date the registration for the vehicle
expires. . . the person operates on a public highway during a registration period a motor vehicle. . . that has attached to it a license plate for the
preceding period; and the license plate has not been validated by the attachment of a registration insignia for the registration period in effect.
Even more, pursuant to Tex. Transp. Code § 502.472: A person commits an offense if the person operates a motor vehicle that has not been
registered or registered for a class other than that to which the vehicle belongs as required by law.

4
 State v. Dominguez, No. 08-21-00036-CR, 2022 Tex. App. LEXIS 6065, at *7 (Tex. App.—El Paso Aug. 18, 2022, pet. ref'd)
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30.       The officers however failed to prolong the traffic stop for any lawful reason. During the

stop the events with Plaintiff were consistent with innocent activity and the prolonged

investigative detention was therefore unlawful.5 Plaintiff was initially subjected to the prolong

detention by the Defendant DPD Officer, because at the inception of the investigation, it is clear

that the officers had no reasonable suspicion, neglected to take steps to effectuate the purpose of

the stop for the intended purpose of getting lucky, and that no circumstance justified the

interference and investigation of Plaintiff in the first place.

             i.     Defendant Dodson’s Interaction with James

31.       Defendant Dodson approached the driver’s side of the vehicle. As she approached the

window, she removed her sunglasses and placed them on top of her head and greeted James. She

squatted down into the window, where she had a clear view of both occupants and advised that

the registration showed to be expired and requested updated registration.

32.       James handed Defendant Dodson some documents that were the vehicle’s insurance

information. Defendant Dodson briefly examined the documents and then asked James if there

was anything in the car that she needed to know about, such as guns or drugs.

33.       James responded that there was not and handed Defendant Dodson her identification

card.

34.       Defendant Dodson never spoke to James again until fifteen minutes and twenty-three

seconds (15:23) after the vehicle was stopped for the moving violation. Defendant then explained

to James that Plaintiff had a warrant and was being arrested. Defendant told James, “all he had to

do was talk to us.” She further explained to James that she did not get a chance to take a look at

the paperwork that she had returned to her at four minutes and twenty-nine seconds (4:29) into


5
 Johnson v. State, 658 S.W.2d 623, 626 (Tex.Crim.App.1983).
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the stop. Defendant Dodson persistently questioned James about anything else Plaintiff might

have had in the vehicle that she needed to know about. After James refused to allow a search of

the vehicle, James was released from the scene without a citation approximately seventeen (17)

minutes after Defendant Dodson first pulled the vehicle over.

         ii.   Defendant Dodson’s Interaction with Plaintiff

35.    As Defendant Dodson was flipping through the paperwork, her attention turned to the

conversation taking place between Defendant Guerrero and the Plaintiff. She first asked what

was going on and if everything was okay. A Guerrero moments later, Defendant Guerrero if

Plaintiff has given him his ID, to which Defendant Guerrero answered in the negative.

36.    Defendant Dodson then began to address Plaintiff, explaining that in the State of Texas

everyone in a vehicle is detained on a traffic stop, and that there seemed to be some registration

issues and a moving traffic violation, and requested his last name. Plaintiff responded that he was

pleading the 5th, to which Defendant Dodson began responding to before being interrupted by

James, who wanted to know what moving violation was committed.

37.    For a brief moment, Defendant Dodson turned her attention back to James, explaining

that she made an improper wide right turn, and was supposed to commit to the right lane, before

moving over to the left.

38.    Defendant Dodson then immediately went back to addressing Plaintiff, requesting that if

he didn’t want to talk about it, he could provide something with his name on it. Plaintiff was

then speaking back to Defendant Guerrero, so Defendant Dodson asked James for his last name.

James replied that she had already provided her ID to Defendant Dodson, who had the

information in her hand, and that she’d done what she was supposed to do.



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39.    Defendant Dodson indicated that she appreciated that, but without Plaintiff’s name, this

was going to be a longer process, and then tried to call for backup, before handing James back

her proof of insurance at four minutes and twenty-nine seconds (4:29) into the stop.

40.    The radio became clear, and Defendant Dodson than continued to call for backup at four

minutes and fifty-five seconds (4:55) into the traffic stop.

41.    At five minutes and thirty-eight seconds (5:38) into the traffic stop, Defendant Dodson

advised Plaintiff that she was about to call a supervisor out to the scene, per his request. At that

time, Defendant Dodson left the driver’s side of the vehicle and proceeded to walk around to the

passenger side of the vehicle, where she took a notepad from Defendant Guerrero. When she

asked “what’s this for,” Defendant Guerrero only responded “Eric Thompson.”

42.    Thereafter, Defendant Dodson returned to her DPD squad car, with James’ ID and the

notepad from Defendant Guerrero still in hand. Upon entering the vehicle, she reached out to her

sergeant as she began inputting information on the squad car computer or mobile data terminal

(“MDT”) at six minutes and twenty seconds (6:20) into the stop. She advised the sergeant ten

seconds later (6:30) that they “had a guy who is refusing to give his info., and kind of being a

little extra, . . .who’s a passenger in this vehicle.” She also indicated that she had another cover

element coming and they were going “to get him out of the car and talk to him a little more and

stuff . . . . He wanting to speak to a supervisor, so [she] told him [she’d] be nice and get one

started for him.”

43.    Based on all information and belief, while she was speaking to her sergeant, at six

minutes and forty-five seconds (6:45) into the stop, Defendant Dodson had completed her

investigation of James on the MDT and then began to search the name “Eric Thompson.”



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44.     At approximately seven minutes and seventeen seconds (7:17) into the traffic stop the

cover element arrived and Defendant Dodson advised the additional officers that “he is refusing

to give his info, and he’s kinda being a little extra, he’s already requested a supervisor . . . but we

‘bout ta. . .” Officer Rodriguez asked for clarification of which occupant Defendant Dodson was

speaking about. Defendant Dodson responded, “The passenger. The female is cool, the

passenger, I don’t know what’s up with him. . . .” at seven minutes and thirty seconds (7:30)

after the traffic stop.

45.     Although at that time, Defendant Dodson knew James, the driver, had a current valid

license, no outstanding warrants, and that the care was not stolen, the traffic stop investigation

was not resolved. Instead, the Defendant proceeded to prolong the traffic stop beyond the time

reasonably required to complete the mission of issuing a ticket. She remained inside the DPD

squad car, running searches on the name Defendant Guerrero wrote on the notepad and thought

that she found someone that was him at eight minutes and fifty-four seconds (8:54) into the stop

for a traffic violation.

46.     She continued her search of the name until she exited the DPD squad car at twelve

minutes and fourteen seconds (12:14) after the stop.

47.     Defendant Dodson then asked Defendant Guerrero if the Plaintiff had said anything

different to him, and signaled to Defendant Guerrero to remove Mr. Thompson from the vehicle

while asking if he got the name from the ID that was hanging up in the car. Once Defendant

Guerrero reached inside the vehicle, unlocked and opened the door, Defendant Dodson requested

that he exit the vehicle. When Plaintiff asked why and said he did not want to, Defendant

Dodson responded, “because I’m telling you to step out of the car, and you haven’t been

listening this whole time.”

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48.     Thirteen minutes and ten seconds (13:10) after the traffic stop, Defendant Dodson placed

Plaintiff in handcuff and placed him in the back of her DPD squad car after securing the contents

of his pockets in a plastic bag.

49.     At nineteen minutes and twenty-six seconds (19:26), after Plaintiff was in handcuffed in

the back of her unit and James was gone from the scene, Defendant Dodson called in to confirm

possible warrants for Plaintiff.

         iii.   Defendant Guerrero’s Interaction with Plaintiff

50.     Upon exiting the DPD squad car following the stop on the vehicle for moving violations,

Defendant Guerrero immediately approached the passenger side of the vehicle and began

addressing Plaintiff.

51.     Defendant Guerrero stood silently outside of the vehicle until one minute and three

seconds (1:03) into the stop, when Plaintiff said, “I’m just a passenger.” Once Plaintiff made the

statement, Defendant Guerrero asked, “this is your car, right?” and Plaintiff responded that it was

his wife’s. Defendant Guerrero then asked who’s name is the car under, and Plaintiff responded

“mine.” When Defendant Guerrero asked Plaintiff for his name, Mr. Thomas responded by

advising that he did not want to give his information because he was a passenger and did not

have to respond.

52.     Defendant Guerrero advised that they were only trying to identify who the vehicle belong

to, and Plaintiff responded by advising that they could run the plates on the vehicle. Defendant

Guerrero said “okay.” Plaintiff then asked if they had already run the plates, which Defendant

Guerrero responded at one minute and thirty-six seconds (1:36) into the stop, in the affirmative

saying, “yea, we ran the plates.” and then asked Plaintiff, “so you’re the registered owner of the

car.”

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53.    For a second, Defendant Dodson interrupts, but when Plaintiff refocuses his attention of

Defendant Guerrero’s question, he immediately advises the officer, “I don’t want to answer your

question.” After Defendant Guerrero explains that they are trying to verify the owner again,

Plaintiff reiterates that he does not want to answer any questions, to which Defendant again

responds, “okay.”

54.    At this moment, Defendant Dodson interrupts again, asking Defendant Guerrero if

Plaintiff gave him an ID already, and the officer tells his colleague “no, he doesn’t want to give

it.”

55.    Two minutes and forty-nine seconds (2:49) into the stop, Defendant Guerrero took out a

notepad and began writing. While doing so, Plaintiff is continuing to tell Defendant Dodson that

he does not want to speak to them at all.

56.    Plaintiff asked Defendant Guerrero if it is true that “unless you’ve committed a crime or

something like that, you don’t have to identify.” Defendant Guerrero responds by telling Plaintiff

that in “different situations, yea.” Defendant Guerrero goes on to indicate that everyone in the

vehicle was detained at three minutes and twenty-five seconds (3:25) into the stop. He then told

Plaintiff that he already admitted that the vehicle was his, and that the registration was out on

Plaintiff’s vehicle. Plaintiff threw his hands in the air and stated, “I’m just a passenger.” and

expressed his appreciation for the officer’s response at three minutes and forty-three seconds

(3:43) after the vehicle was pulled over.

57.    About fifteen (15) seconds later, Plaintiff explains that he is not understand, because the

thought that unless you committed a crime that is when you are supposed to ID yourself. At this

point Defendant Guerrero remains silent and just continues standing alongside the vehicle.



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58.    At four minutes and fifty-five seconds (4:55) into the stop, Plaintiff overhears Defendant

Dodson’s call for backup, and asks Defendant Guerrero, why is she calling for backup, and asked

the officer to also call a supervisor to the scene. After the Plaintiff rapidly repeated his request

for Defendant Guerrero to call a supervisor, the officer promptly replied, “I’ve gotta wait for

them to get off the radio man!” Plaintiff calmly responded, “I didn’t know all of y’all were on

the same channel,” to which Defendant Guerrero responded, “I mean you hear it, right?”

59.    After the vehicle was stopped for five minutes and twenty-three (5:23) seconds,

Defendant Guerrero asked Defendant Dodson if she wanted to get a supervisor out there since he

Plaintiff was asking for one.

60.    Defendant Guerrero motions for Defendant Dodson to come get the notepad he had taken

out at about five minutes and forty-five seconds (5:45) into the traffic stop as she began walking

towards the DPD squad car and says “Eric Thompson.”

61.    At six minutes (6:00) into the traffic stop, James Plaintiff begins asking Defendant

Guerrero questions pertaining to the improper wide turn. James remakes that “all of this is

unnecessary,” to which Defendant Guerrero responds, “it is unnecessary, but when someone else

is in the car, ya know.” At six minutes and twenty-three seconds (6:23) James states, “but I’m the

driver, and I IDed myself,” and Defendant Guerrero agreed.

62.    Plaintiff then says to Defendant Guerrero, “That’s what I’m saying. Y’all got a problem,

with her driving, right?” Defendant Guerrero answered in the affirmative, but also explained that

everyone in the vehicle is detained. At no time did Defendant Guerrero explain that the lawful

detention of persons in a traffic stop was only supposed to be temporary nor did he advise that an

investigative detention must last no longer than is necessary to effectuate the purpose of the stop.



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63.      Following Defendant Guerrero’s explanation, Plaintiff asked at six minutes and thirty-

one seconds (6:31) into the stop, “but I still have the right not speak and not say nothing?” to

which Defendant Guerrero responded, “and you do.” Plaintiff then ask, “at that point, how are

you proceeding?” and Defendant Guerrero indicates that despite Plaintiff’s lack of consent to the

investigation, he was “still trying to identify who” Plaintiff was.

64.      At six minutes and forty-two seconds (6:42) Defendant Guerrero explains, “You have the

right to not say anything, and I still have to finish my investigation.” Defendant Guerrero again

fails to advise that the investigative detention was only lawful to effectuate the purpose of the

stop.

65.      Defendant Guerrero however describes that his investigation was “trying to figure out

who all is in the car, who he is talking to.”

66.      Plaintiff then asked why they were not dealing solely with the person who committed the

traffic infraction, and Defendant Guerrero responded, “we were dealing with both of y’all.” At

six minutes and fifty-five seconds (6:55), Plaintiff just shakes his head, and says “that’s crazy”

and reiterates that he believed that there was no reason to identify himself if he’d done nothing

wrong.

67.      Plaintiff asked Defendant Guerrero, “don’t I have to do something wrong?” At seven

minutes and four seconds (7:04) into the stop, the DPD officer replied, “I’m not saying you did

or didn’t do anything wrong.” Plaintiff and Defendant Guerrero then begin an exchange where

Plaintiff again reiterates that pursuant to the law, the “only way” that he could “fail to ID” is if he

committed a crime and didn’t provide his ID. Defendant Guerrero made noises in agreement.

Plaintiff proceeded asking that “if [he] hasn’t committed a crime, whether [he is] in the backseat,

if [he’s] not the one who committed the infraction, then why would [the officer] identify [him]?”

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Defendant Guerrero begins responding at seven minutes and twenty-seven seconds (7:27) into

the stop and indicates that he “doesn’t know anything about here,” referring to the specific

situation involving Plaintiff that justified the need to ID Mr. Thompson.

68.    The conversation ended there as Foster appeared at the driver’s side of the vehicle and

began speaking to James, until Plaintiff turned to Defendant Guerrero at eight minutes and forty-

four seconds (8:44) into the stop, and asked “Do you have reasonable suspicion?”

69.    Defendant Guerrero then remarks, “Reasonable suspicion? For what?” Plaintiff then

explains that per Foster’s explanation, reasonable suspicion would be the only reason that

Defendant Guerrero would need to ID him. Then at eight minutes and fifty-five seconds (8:55)

into the stop, Defendant Guerrero admits “we’re just trying to identify who is all in the vehicle”

and Plaintiff responds with the question, “so you don’t have to, you want to?” Defendant

Guerrero makes a noise in agreement. Plaintiff continues, “and I said I didn’t want to, so at that

point, shouldn’t it be over?” Defendant Guerrero replies, “not necessarily.” When Plaintiff asked

if that was because Defendant Guerrero didn’t want it to be over, again the officer makes a noise

in agreement.

70.    Plaintiff continues to ask Defendant Guerrero why he wouldn’t leave him alone when

there was clearly no reasonable suspicion. Defendant Guerrero then represents that he was

justified in his prolonged investigative detention of Plaintiff because, “the reasonable suspicion

he [had] at [that] point, was [Plaintiff was] refusing to give him [his] information.”

71.    Nine minutes and twenty seconds (9:20) after the vehicle had been pulled over, Plaintiff

asks Defendant Guerrero, how refusing is suspicious and if the contention is supported by law.

Defendant Guerrero responds that “suspicion is different from probable cause.” Rather than



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answer Plaintiff’s question, Defendant Guerrero states, “I haven’t overstepped any of my

boundaries.”

72.     Plaintiff then explains that in his understanding and exercise of the law, he is at liberty to

talk to the officers, but does not have to answer any questions. Defendant Guerrero then exclaims

that he “hasn’t tried to make” Plaintiff. Plaintiff then remarks, at nine minutes and forty-nine

seconds (9:49) after the stop, “you’ve asked me a couple of times, but I keep giving you the same

answer. . . but my point is after that.”

73.     Defendant Guerrero interrupts and says that his only task is to exhaust all of his efforts in

investigating who the Plaintiff is and who he is not. The officer goes on to say that “once he has

exhausted all efforts. . .” then the conversation ceases because Plaintiff started speaking to Foster

about wanting clarification of the law, in order to properly exercise his rights.

74.     At twelve minutes and sixteen seconds (12:16) into the prolonged investigative detention,

Plaintiff turns back in the direction of Defendant Guerrero, who was speaking to Rodriguez

who’d come over to the passenger side of the vehicle. Plaintiff remarks that he is just exercising

his rights and wants to make sure the officers are respecting their civil rights just as Defendant

Dodson is approaching from her squad car.

75.     Defendant Dodson motions to Defendant Guerrero to open the car door at twelve minutes

and forty-three seconds (12:43). As Rodriguez steps out of Defendant Dodson’s way, Defendant

Guerrero reaches inside the vehicle, unlocks, and opens the door. Defendant Guerrero grabs

Plaintiff’s right wrist through the back passenger window that was down as Mr. Thompson is

standing to get out of the vehicle with Defendant Dodson grabbing his left arm, subsequently

placing Plaintiff in handcuffs.



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C.     The Sergeant’s Gross Mismanagement of the Traffic Stop Investigative Detention

          i.   Defendant Hartger’s Arrival at the Scene

76.    Defendant Hartger arrived on the scene fourteen minutes and twenty-six seconds (14:26)

after the DPD offices executed the traffic stop.

77.    Defendant Guerrero explained to the sergeant that they had stopped the vehicle for

making a wide right turn. He noted that once they were pulled over, James gave them her

information. He advises that he asked Mr. Thompson for his information, but that Plaintiff

indicated that he was exercising his rights and wanted to know why they needed his information.

Defendant Hartger listens as the officer then tells him that he obtained a name from a work

badge and that Defendant Dodson ran a name on it. The officer reiterates that the entire time

Plaintiff was asserting his rights and wanted to know why they were still there, and that he told

Plaintiff, that he needed to exhaust everything to determine who he was.

78.    Following the explanation of events, Defendant Hartger approached the DPD squad car,

and opened the door where Plaintiff was sitting at fifteen minutes and thirty-nine seconds (15:39)

after the vehicle had been pulled over for the moving violation. Defendant Hartger then motions

for Defendant Guerrero to walk away. At sixteen minutes and twenty-six seconds (16:26),

Rodriguez joins Defendant Hartger at the back of the squad car followed by Defendant Dodson

getting in the front seat of the DPD until at seventeen minutes and twenty-seven seconds (16:27),

following the traffic stop, at which point James had been released without a warning or citation

for the improper turn nor vehicle registration.




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            ii.   Defendant Hartger’s Interactions with Plaintiff

79.      Defendant Hartger begins his conversation with the Plaintiff at about sixteen minutes and

eighteen seconds (16:18) after the stop had occurred. At this point, James was still present on the

scene.

80.      Plaintiff explains that when they were pulled over, based on his knowledge of the law,

when the plates were run and the vehicle was stopped, “the infraction was on [his] wife.”

Defendant Hartger expressed agreement at sixteen minutes and forty seconds (16:40) following

the stop.

81.      Plaintiff then indicates that the officers went about identifying everyone in the car, and he

thought he had the right to remain silent, and that he did not have to answer any questions

because he did not violate anything, broken any laws, or made any infractions. Plaintiff set

forward that it was for this reason that he advised the DPD officers that he did not want to ID

himself, and asked Defendant Hartger, “was I within my rights,” to which the DPD Sergeant

responded “yeah!”

82.      Plaintiff went on to explain to Defendant Hartger that he was headed to work in order to

take care of his family. Mr. Thompson then asked Defendant Hartger, at seventeen minutes and

nineteen seconds (17:19) into the stop, while James was still on the scene in the vehicle, “did I

do anything, sitting in my seatbelt, that required me to have to ID?” Defendant Hartger promptly

responded, “no!”

83.      Following Defendant Hartger’s acknowledgement of the fact that Plaintiff had done

nothing wrong that prompted the investigation into his identity, he asked the sergeant, “then why

am I [going to][sic] jail right now?”



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84.        The sergeant knew or should have known that despite the badge being in plain view,

officers must have probable cause to believe that items in plain view are contraband before they

may investigate. Nevertheless, Defendant Hartger responded by indicating that it was because

the officers used his name seen on the work badge to investigate who he was, and find the traffic

tickets.

85.        Seventeen minutes and thirty-three seconds (17:33) into the stop, as the officers began

walking away from the vehicle following them releasing James, Plaintiff told Defendant Hartger

that the officers “basically just stole his ID versus asking for [his] ID if he didn’t want to give it

to them.”

86.        Defendant Hartger then asked the Plaintiff how the officers obtained his name, and

Plaintiff requested that the sergeant ask them, because he didn’t know. Defendant Hartger

responded that he already talked to them. Plaintiff then complained as James began leaving the

scene seventeen minutes and fifty seconds (17:50) after the stop, that he wasn’t doing anything to

make it an investigation, and that he should have been free to go about his business without

having to ID himself.

87.        Defendant Hartger then attempted to justify the prolonged investigative detention

following the traffic stop. He said, “They stopped you. They were handling that. You refused to

give your name, and that’s fine. That’s absolutely your right. However, that’s unusual.” Plaintiff

attempts to ask a question, but the DPD sergeant tells him to hold on and continues, “that

happens far less often than it does happen.” Plaintiff responds, “because we are starting to learn

our rights. . . and I wanted to exercise them, and I shouldn’t have been penalized for doing so.”

88.        Defendant Hartger doesn’t address this statement made by Plaintiff but continues on.

Despite neither Defendant Dodson nor Defendant Guerrero advising that anything in their

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experience led them to further investigate, Defendant Hartger upheld their actions saying that the

officers were “aware that a lot of people come through there with warrants.”

89.        Defendant Hartger goes on saying that the officers saw something with his name on

something in the car, and they decided to use that detention to check his name against the

warrants. The DPD Sergeant fails to acknowledge that during an investigation following a traffic

stop, the law does not permit an officer to prolong the detention beyond reasons for the initial

traffic stop. He further fails to recognize that a prolonged investigation is only permissible when

a police officer has specific articulable facts, combined with rational inferences, that lead him to

reasonably conclude that the person detained is, has been, or soon will be engaged in criminal

activity.

90.        Defendant Hartger’s conversation with the Plaintiff lasted until approximately twenty-

two minutes and eight seconds (22:08) after the vehicle was stopped.

             iii.      Defendant Hartger’s Inaction with Defendant Dodson, The Arresting Officer

91.        At no time did Defendant Hartger speak to Defendant Dodson aside from her initial call

to him. Upon his arrival and before closing the door to the squad car that took Plaintiff to jail,

Defendant Hartger made no effort to determine whether there was any objectively justifiable

basis for the prolonged detention, which led to Plaintiff’s arrest.

92.        Defendant Hartger never asked Defendant Dodson or Defendant Guerrero what measured

has been taken in investigation of the traffic violation that justified the initial seizure.6

93.        Defendant Hartger made no effort to determine whether the investigation into Plaintiff’s

identity had any close connection to roadway safety, the ordinary inquiries incident to a traffic

6
    Beyond determining whether to issue a traffic citation, an officer's mission during a traffic stop includes “ordinary inquiries incident to [the
traffic] stop.” Rodriguez v. United States, 575 U.S. 348, 355, 135 S.Ct. 1609, 191 L.Ed.2d 492 (2015), quoting Illinois v. Caballes, 543 U.S. 405,
408, 125 S.Ct. 834, 160 L.Ed.2d 842 (2005). Such inquiries typically involve determining whether there are outstanding warrants against the
driver, running a record's check on the driver's license, and inspecting the vehicle's registration and proof of insurance. See id. (noting that these
checks serve the same purpose as enforcement of the traffic code by ensuring vehicles are operated safely).
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stop, and/or if the investigation of the name shown on the work badge was in anyway

characterized as part of the officer’s traffic mission.

94.        Defendant Hartger never made any inquiry into whether the officers took any steps that

resembled any task associated with the traffic stop.7 For example, at no time did he ever verify if

Defendant Dodson took steps to have dispatch confirm insurance information as she continued

with the traffic investigation.

95.        Even more, Defendant Hartger made no determination about whether the officer’s

questioning of Plaintiff, which was unrelated to the purpose of the traffic stop, was the cause of

the traffic’s duration being extended.8

96.        In fact, at the moment Plaintiff was taken in the DPD squad car, the sergeant on the scene

had no knowledge if his offices at any time initiated or completed a computer check of James,

nor if they knew if James had a current valid license or outstanding warrants. He further

neglected to ask the officers if they made any determination about whether the car was stolen,

and therefore had no knowledge about whether the traffic stop investigation was at any point,

conducted.

97.        What is notable however, is that Defendant Hartger did know that during the traffic stop,

there was nothing that allowed the officers to develop reasonable suspicion that James nor

Plaintiff was involved in criminal activity. Therefore, Defendant Hartger knew or should have

known that the officers were not permitted to continue questioning the individuals in this traffic

stop, regardless of whether the official tasks of a traffic stop had come to an end.



7
  A traffic stop made to investigate a traffic violation must be reasonably related to that purpose and may not be prolonged beyond the time to
complete the tasks associated with the traffic stop. Lerma v. State, 543 S.W.3d 184, 190 (Tex. Crim. App. 2018), citing Kothe v. State, 152
S.W.3d 54, 63-64 (Tex. Crim. App. 2004).
8
  “An officer is also permitted to ask drivers and passengers about matters unrelated to the purpose of the stop, so long as the questioning does
not measurably extend the duration of the stop” Lerma v. State, 543 S.W.3d 184, 190 (Tex. Crim. App. 2018).
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             iv.      Defendant Hartger’s Justification of a Mere Hunch

98.        When Defendant Hartger upheld the arrest made by Defendant Dodson, he told Plaintiff

that his behavior was “unusual.” He insisted that because the officers knew people were in the

area with warrants, Plaintiff not answering their questions provoked the investigation beyond a

traffic stop.

99.        At the moment these statements were made by Defendant Hartger, neither officer had

made any statement of the sort to the sergeant pertaining to this unlawful investigation. Even if

they had, as a DPD sergeant, he knew or should have known that law enforcement officers must

rely on concrete facts, not just vague suspicions, or general hunches, and that no circumstances

of the officer’s interactions with Plaintiff amounted to justifiable reasonable suspicion.

100.       Only as the officers conversated about following the arrest did Defendant Dodson and

Defendant Guerrero indicate that they had a mere hunch that Plaintiff didn’t want to answer their

questions for unknown reasons. They each joked about having an intuitive feeling that he might

have had warrants, but no specific evidence could be articulated between either of them of the

same. As such, Defendants Dodson, Guerrero, and Hartger each acted in concert knowing that

the traffic stop was prolonged, absent any reasonable suspicion of some other criminal activity

that would justify continued detention and subsequently, Plaintiff’s arrest.9

D.         Defendant Dodson and Defendant Guerrero prolonged the Traffic Stop
           Investigative Detention Beyond Initial Justification

101.       It is settled that the vehicle’s registration was expired. Likewise, James never disputed

that she made a right turn into the left lane. As such, Defendant Dodson and Defendant Guerrero

justifiably initiated the traffic stop.


9
  “[O]nce the reason for the stop has been satisfied, the stop may not be used as a ‘fishing expedition for unrelated criminal activity.’ ” Davis v.
State, 947 S.W.2d 240, 243 (Tex. Crim. App. 1997), quoting Ohio v. Robinette, 519 U.S. 33, 41, 117 S.Ct. 417, 136 L.Ed.2d 347 (1996)
(Ginsberg, J., concurring).
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102.    In an attempt to gin up probable cause to arrest Plaintiff, the Defendant officers

improperly prolonged the detention beyond its initial justification. Specifically, Defendant

Dodson intentionally or knowingly failed to conduct computer searches on James and the vehicle

to confirm that the operator and vehicle could be safely operated on the roadway. Instead, she

pursued identifying the passenger Plaintiff, without justification.

103.    Had the said Defendants respected Plaintiff’s right to exercise the ability to remain silent,

refuse to answer questions or identify himself without reasonable suspicion, they would have had

no desire to continue to detain Plaintiff past the initial reason for the traffic stop.

104.    Defendant Dodson had requested another cover unit to the scene, and Foster and

Rodriguez arrived before she ever conducted any computer check on the name “Eric Thompson.”

Likewise, Plaintiff was already arrested and placed in the squad car before any warrants were

ever confirmed by the operator.

105.    The time necessary to complete the investigation into the expired registration and

improper turn ended at the latest, when James admitted the offenses. Thus, any detention that

extended beyond the time necessary to acquire James’ personal information, check her

information with dispatch, and write a citation for the traffic violations was unreasonable.

106.    Defendant Dodson and Defendant Guerrero would have needed the existence of some

other criminal activity to justify Plaintiff’s continued detention. The Defendants however

deliberately enticed Plaintiff by asking him to identify himself when he had done nothing wrong

and had repeatedly expressed that he did not consent to their questioning. At the time the

investigation of the name shown on the badge was done, the said Defendants were unable to

articulate something more than an inchoate and unparticularized suspicion or hunch that Plaintiff

was engaged in criminal activity.

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107.   The Defendants were not still actively involved in the traffic stop when they continued to

question Plaintiff, because James’ admission of the traffic offenses completed the investigation.

The DPD officers did not observe evident of any additional criminal offenses in their presence

following the conclusion of this traffic stop investigation. Defendants Dodson and Guerrero

presented no information about the existence of additional reasonable suspicion to suggest that

some other criminal activity was afoot.

108.   Nothing in this instance suggest at either officer had reasonable suspicion of some other

criminal activity to justify Plaintiff’s continued detention as Defendant Dodson ran searches on

the name written on Defendant Guerrero’s notepad. Likewise, the only arguable relevant fact,

that Plaintiff had existing traffic warrants, was not confirmed until nearly seven (7) minutes after

he had already been placed in handcuffs and put into the squad car. Therefore, before Plaintiff

was arrested, neither officer had sufficient information to collectively amount to reasonable

suspicion that Plaintiff was engaged in some other criminal activity.

E.     The Plaint-View Investigation was Conducted After the Lack of Justification for
       Extending the Traffic Stop

109.   James ended the investigation of the traffic stop when she acknowledged that the

vehicle’s registration was expired, and that she’d made a wide right turn. She provided

Defendant Dodson with her driver’s license. Defendant Dodson searched James’ driver’s license

and apparently found that it was valid and that James had no outstanding warrants. James also

provided Defendant Dodson with insurance paperwork that verified that there was active

coverage for the vehicle.

110.   Defendant Guerrero advised Plaintiff that prior to the stop, they had run the plates and

apparently the officers knew that the vehicle was not stolen. Plaintiff told the officer that


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although the vehicle was registered to his name, it was owned by his wife, James, who was the

operator at the time of the stop.

111.       The officers continued to ask Plaintiff questions and for identifying information because

they concluded that Mr. Thompson did not appear to be someone who would simply be

exercising his rights to remain silent as a passenger in a vehicle stopped for a moving violation.

112.       The traffic stop investigation was therefore concluded prior to Defendant Guerrero seeing

the work ID hanging on the rear-veiw mirror. Although the name was shown in plain view, the

Officers conducted an unreasonable search because they lacked probable cause to believe that

item in plain view was contraband. Likewise, it was not immediately apparent to either DPD

officer that the name on the work ID was evidence of a crime.10

113.       Additionally, the investigation was well concluded before Defendant Dodson chose to

prolong the stop while she searched for the name seen in plain-view on the MDT that she

believed to be the passengers.

F.         Material Lies and Omissions in Defendant Dodson’s Statement of Probable Cause

114.       As her malicious grin showed when she discussed completing the report at the scene with

her colleagues, Defendant Dodson took joy in preparing an incident report for the arrest. In

support of the charge, she wrote that on August 13, 2021, Mr. Thompson, “was lawfully detained

and refused to provide identifying information while he was actively a fugitive from justice

during a traffic stop.”

115.       In an attempt to incite probable cause for the charge, Defendant Dodson knowingly

and/or with reckless disregard for the truth, made numerous material omissions and false


10
    A police officer may seize without a warrant any item in plain view when its discovery is inadvertent, and it is immediately apparent to the
officer that the item is evidence of a crime, and the officer has a right to be in the place where the item was found. Anderson v. State, 787 S.W.2d
221, 228 (Tex. App.—Fort Worth 1990, no writ).

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statements in her narrative report. Although neither officer at the traffic stop asked Mr.

Thompson for anything other than his name, Defendant Dodson claimed that Plaintiff refused to

provide any identification cards, name, date of birth, or any other identifying information to

Defendant Guerrero. Defendant Dodson claims that she asked the occupants several times if they

had any firearms or contraband in the vehicle and alleges that Plaintiff refused to answer the

question. Defendant Dodson however misrepresents that these questions were asked of Plaintiff.

This did not occur, Defendant Dodson only ever requested this information from James on two

(2) separate occasions concerning the contents in the vehicle, first when the stop was initiated,

and secondly after Plaintiff was in the squad car under arrest. This one statement from a

discredited witness with ulterior motives would certainly have been insufficient to support a

finding of reasonable suspicion. Any reasonable official knowing what Defendants Dodson and

Guerrero knew that Plaintiff did not try to conceal illegal, would have known that reasonable

suspicion did not exist and would not have pursued the investigation.

116.    Defendant Dodson’s narrative again misrepresents that “James stated that she had given

her own name which was enough and that she did not know what the passenger had going on or

if he had warrants.” This false statement is critical to a finding of reasonable suspicion to prolong

the investigative detention.

117.    Defendant Dodson further states that “Guerrero #10801 asked A/PE. Thompson multiple

times if he was the registered owner of the vehicle and A/P E. Thompson refused to admit

whether or not he owned the vehicle or if his name was on the registration.” Again, this is a false

statement in an attempt to justify the prolonged unlawful detention beyond the purpose of the

traffic stop.

118.    The narrative prepared by Defendant Dodson goes on to state:

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       “A/O I. Dodson #10848 used the name "Eric Thompson" from the ID badge to
       conduct a check of Dallas County Jail Records and observed that a Thompson, Eric
       Dwayne with the date of birth 01/24/1975 had a photograph matching A/PE.
       Thompson (Information Redacted)[sic]. A/O I. Dodson #10848 conducted a
       subject check which revealed that A/P E. Thompson had four warrants out of the
       Dallas Police Department, with a bond amount totaling $1,465.30. The warrants
       were confirmed by R. Hernandez with the Dallas Police Department. A/P E.
       Thompson was taken into custody for his warrants and failing to provide
       identifying information while a fugitive from justice.”

Defendant however fails to include critical information verifying and providing context for

when the search was conducted, and warrants were confirmed. Specifically, Defendant

Dodson omits that:

           •   The traffic stop investigation had been concluded when James provided her
               identification and insurance papers and admitted to the traffic offenses;

           •   The traffic stop investigation was concluded when she ran investigative
               searches on the name “Eric Thompson;”

           •   Neither Officer had reasonable suspicion that with James not Plaintiff had
               committed any other unlawful offense when the search was conducted on
               the name Eric Thompson; and

           •   Plaintiff had already been placed in handcuff and was in the back of the
               squad car when R. Hernandez confirmed the warrants.

119.   Defendant Dodson’s several material misstatements regarding Mr. Thompson in

her narrative were still not enough to overcome the State’s review of the evidence and

dismissal of the fabricated and baseless claims.

G.     Unlawful Arrest and Malicious Prosecution of Mr. Thompson for Failure to Identify
       Fugitive from Justice

120.   Based on Defendant Dodson’s false statements and material misrepresentations, Plaintiff

was arrested and taken to jail, charged with the misdemeanor offense of Failure to identify

Fugitive from Justice in Cause No. MB2158878 in Dallas County Court of Criminal Appeals 2.



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121.   At all times before approving the arrest, Defendant Hartger had a duty as the officer’s

sergeant and pursuant to DPD policy to review the evidence in support of the arrest. Had he

adequately done so, Defendant Hartger would have or should have noted the discrepancies noted

in the incident report, noticed the material lies and omissions in the narrative set forth by

Dodson, realized that there was no reasonable suspicion to extend the traffic stop investigation, and

intervened before Plaintiff’s rights were violated. Defendant Hartger’s failure to intervene and/or

adequately supervise Defendants Dodson and Guerrero and his approval of their taking Plaintiff to

jail, was a direct cause of Mr. Thompson’s constitutional rights being violated.

122.   Defendants Dodson, Guerrero, and Hartger had no evidence to support the claim that

Plaintiff committed the offense of failure to identify, and indeed none exists.

123.   Based on all information and belief, once at the jail, Plaintiff was booked and held in

the mental health unit at the Lew Sterrett Justice Center. He remained there until his release on

August 19, 2021. On the day he was released, Mr. Thompson found out that he’d lost his job,

his housing, and his wife.

124.   At the time of Plaintiff’s arrest, no reasonable official, with the information available to

Defendants, could have objectively concluded that reasonable suspicion existed to support the

prolonged detention that led to Mr. Thompson’s arrest or criminal charge brought against him.

125.   On March 31, 2022, the State dismissed the charges in the interest of justice.

H.     Defendants Lacked Probable Cause to Arrest and Charge Plaintiff with Failure to
       Identify Fugitive from Justice

126.   Defendants charged Mr. Thompson with failure to identify Fugitive from Justice without

probable cause to do so. Defendants’ purported probable cause was based solely on Defendant



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Dodson and Defendant Guerrero’s unreasonable and unlawful investigative detention beyond the

time reasonable to effectuate the purpose of the traffic stop.

127.       Defendants Dodson, Guerrero, and Hartger were all aware of and/or directed the material

omissions and false statements made in Defendant Dodson’s narrative. Defendant Hartger knew

or should have known of the material omissions and false statements in Defendant Dodson’s

narrative report, as Defendant’s supervisor responsible for reviewing her incident reports, and

should have intervened and/or not approved of Plaintiff going to jail, when the officers lacked

reasonable suspicion to prolong the investigation of the traffic stop. Had Defendant Hartger

acknowledged that the officers unlawfully detained Plaintiff beyond the time reasonably required

to complete the mission of issuing a ticket, there would have undisputedly been no probable

cause to arrest Plaintiff.

128.       Given the facts and circumstances available to Defendants at the time of the arrest, no

reasonably prudent officer could have believed that Mr. Thompson had committed the crime of

failure to identify -fugitive from justice.

129.       Under Texas law, a person commits the offense of failure to identify if he “intentionally

refuses to give his name, residence address, or date of birth to a peace officer who has lawfully

arrested the person and requested the information” or he “intentionally gives a false or fictitious

name, residence address, or date of birth to a peace officer who has (1) lawfully arrested the

person; (2) lawfully detained the person; or (3) requested the information from a person that the

peace officer has good cause to believe is a witness to a criminal offense” when he was a fugitive

from justice at the time of the offense. Tex. Pen. Code § 38.02.11 Here there was no probable



11
   Notably, this incident occurred on August 13, 2021, prior to the Texas Senate Bill 1551 (SB 1551) going into effect on September 1, 2023,
which amended Tex. Pen. Code § 38.02 to include “(b-1) A person commits an offense if the person. . . (2) fails to provide or display the person's
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cause to believe that Mr. Thompson intentionally refused to give his information to an office

who had lawfully arrested him, nor gave false and fictitious information as an arrested or

detained person, nor was a witness to a criminal offense. An officer needs probable cause of

every element of an offense to secure an arrest.

130.       Regarding the elements, the only purported evidence that Mr. Thompson failed to

identify as a fugitive from justice, was that he advised the officers that he did not want to answer

their questions or identify himself when he’d done nothing wrong. This single statement from an

individual who was not under arrest, who did not provide false or fictitious information, and was

not a witness to a criminal offense is undoubtedly insufficient to support probable cause.

131.       Given the facts and circumstances available to Defendants at the time of Mr.

Thompson’s arrest, no reasonable officer could have objectively concluded that probable cause

existed to support the arrest against Plaintiff.

I.         The Customs, Policies and/or Practices of the City of Dallas and DPD Under the
           Direction of The Policymakers Caused the Violations of Plaintiff’s Constitutional
           Rights

132.       Mr. Thompson was unlawfully arrested as a result of several faulty customs, policies

and/or practices in place at the City of Dallas and DPD as follows:

               i.      Failing to Enforce the Need for Reasonable Suspicion to Prolong a Traffic Stop

133.       DPD has a longstanding policy, practice, and/or custom of officers failing to have

justification to prolong the investigative detention of occupants in a motor vehicle following a

traffic stop, once the traffic stop investigation is fully resolved.

134.       Although DPD and the policymakers have kept the total numbers confidential, there have

been numerous internal affairs investigations related to DPD officers themselves refusing to

driver's license on the officer's request for the license; and (3) intentionally refuses to give the person's name, driver's license number, residence
address, or date of birth to the peace officer on the officer's request for that information.
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cooperate with other officers when they have been pulled over for a traffic stop, as well as, DPD

Officers arresting civilians in traffic stops and then lying about the circumstances.

135.   However, despite acknowledging the seriousness of the problem, DPD and the

policymakers continue to contribute to the lack of justifying prolong detentions in traffic stops.

and have failed to implement proper training, procedures, and enforcement mechanisms to curb

the incidence of unlawful traffic stop investigative detentions. The policy, practice, and culture

of failing to responsibly enforce laws against unlawfully detaining occupants in a traffic stop

longer than necessary to complete the mission of issuing a ticket, directly caused the violation of

Mr. Thompson’s constitutional rights.

136. Due to Defendants Dodson, Guerrero, and Hartger’s nonchalance of Plaintiff’s clear

right to remain silent and refuse to identify himself when no reasonable suspicion existed, they

shifted their focused onto finding any reason to arrest Mr. Thompson. Thus, the failure to honor

Plaintiff’s constitutional rights, directly led to the unlawful investigation of Mr. Thompson’s

identity and subsequent findings of the four (4) traffic warrants.

137. Additionally, none of the Defendants were not disciplined for their failure to properly

investigate, conclude the traffic stop, and not prolong a traffic stop unless they are able to point

to specific articulable facts, contrary to DPD’s written policy, which demonstrates a ratification

of their actions by DPD, City of Dallas, and the Policymakers.

138. By taking the steps necessary to let the officers know he did not want to answer their

questions, nor identify himself, when no reasonable suspicion existed, Mr. Thompson was

merely exercising the rights afforded to him by the constitution. Defendants’ decision to punish

him for these actions was a direct result of the culture of DPD, City of Dallas, and the

Policymakers’ lax attitude towards unlawful detentions and investigation offenses.

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          ii.   Condoning Dishonesty in DPD Investigations and Incident Reports

139.     Defendant City of Dallas and the policymakers also have long maintained a custom,

policy and/or practice that condones dishonesty in criminal investigations, incident reports, and

officer narratives.

140.     Not only did Defendant City of Dallas have a longstanding practice of mishandling and

lying about prolong investigations during traffic stops, Defendant City of Dallas has also

maintained a custom, policy and/or practice that allows and approves of DPD officers making

material omissions and false statements in criminal investigations generally, including in incident

reports and officer narratives when reasonable suspicion to prolong the stop does not actually

exist.

141.     More egregious, when confronted with instances of officer misconduct involving

dishonesty in incident reports – Defendant City of Dallas has a custom of failing to appropriately

punish the offending officer and downplays the seriousness of the conduct. Defendant City of

Dallas’ practice of turning a blind eye towards dishonesty in policing fosters an environment

where DPD officers are encouraged and/or feel comfortable in continuing to make false

statements and material omissions in incident reports and narratives in order to prolong an

investigative stop longer than necessary to effect the purpose of the stop absent probable cause to

arrest the person or the person's consent, and/or secure arrest that lack the requisite probable

cause. Such a policy routinely causes DPD officers to violate the constitutional rights of Dallas

citizens, and indeed, caused such a violation here.

142.     This culture, policy and practice has even been memorialized in certain written policies.

Defendant Dodson included a substantially similar false statement in her narrative when she

indicated Mr. Thompson “refused to answer the question” about “if they had any firearms or

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contraband in the vehicle,” when in actuality, Defendant Dodson never asked him that question.

143.   Apart from these written policies, there are numerous examples of DPD officers making

false statements in connection with criminal investigations, including incident reports and

narratives, sufficient to demonstrate a practice and/or policy. Examples of recorded dishonesty in

criminal investigations analogous to the dishonesty here include the following:

       •        Dallas police Sergeant in 2015 who gave testimony that wasn't true in a DWI
                case.

       •        A Dallas Police officer who responded to a street-racing call on April 1, 2011, and
                lying about a man striking him with a vehicle.

       •        A former Dallas police officer accused of lying in a criminal case report about
                watching a surveillance video in 2021.

       •        A Dallas police officer who reported that he falsified evidence in October 2021,
                after responding to a call about a shooting at a Motel 6.

Despite these, and many other instances of dishonest behavior, Defendant City of Dallas and its

Policymakers still blindly supports DPD officers. This blind backing of officers is also apparent

from evidence showing that officers who have demonstrated dishonesty in investigations are

not punished.

144.   Given the numerous instances of dishonesty and lack of discipline for dishonest

officers, Defendant City of Dallas, through DPD and the policymakers, has demonstrated a

policy and/or practice of allowing DPD officers to submit false information in order to secure

arrests without the requisite probable cause.

        iii.    DPD Officers Routinely Engage in Race-Based Policing

145.   DPD officers also frequently use race in their policing, both in determining when and

who to detain and what charges to pursue. For example, in the 2021 DPD Racial Profiling

Analysis, traffic stops reveled that 24,747 were on a Black person, 22,775 were made of

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Hispanic/Latino people, 13,512 were made on White people, and 1,021 were stopped on an

Asian/Pacific Island person. In addition, of those traffic stops the number that resulted in arrest

were 781 Black People, 511 were Hispanic/Latino people, 199 were White people, and only 13

were people from Asian/Pacific Islands. This data suggests that, when given the choice, DPD

police are more likely to pursue criminal investigations following traffic stops against Black

people than people of other races.

146.   DPD officers use race when determining whether to pursue and/or detain Black people

in a manner disproportionate to their proportionate representation in the population, including

on impersonation-type charges. This data is illustrative of DPD’s unconstitutional race- based

practices.

147.   Mr. Thompson, a black man, was victimized by these race-based practices when

Defendants Dodson and Guerrero chose to pursue an investigation about his identity, when he

was a passenger in a traffic stop, who had done nothing wrong. Had Defendants not been

engaging in race-based policing practices, they would have respected Mr. Thompson’s desire to

exercise his right to remain silent and not consent to their investigation into his identity without

reasonable suspicion.

                            COUNT ONE – 42 U.S.C. § 1983
          VIOLATION OF FOURTH AND FOURTEENTH AMENDMENTS
    Unlawful Arrest and Prosecution Through the Wrongful Institution of Legal Process
         (Defendants Dodson, Guerrero, and Hartger, in their individual capacities)

148.   Each of the previous paragraphs of this Complaint is incorporated as if fully restated herein.

149.   The Fourth Amendment, as incorporated and applied to the states through the Fourteenth

Amendment, protects “[t]he right the people to be secure in their persons, houses, papers, and

effects, against unreasonable searches and seizures.” U.S. Const. amend. IV; amend. XIV. It is

clearly established that the Fourth Amendment specifically protects the people’s right “to be free
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from police arrest without a good faith showing of probable cause.” Winfrey v. Rogers, 901 F.3d

483, 494 (5th Cir. 2018). Such violations are actionable pursuant to 42 U.S.C. §§ 1983 and 1988.

150.   As described in the in the preceding paragraphs, Defendants Dodson, Guerrero, and Hartger

(hereinafter, the “Individual Defendants”), while acting individually, jointly and in conspiracy,

as well as under color of law and within the scope of their employment, deprived Plaintiff of

his clearly established constitutional rights, including the right to be free from police arrest

without probable cause under the Fourth and Fourteenth Amendments.

151.   At the time of Plaintiff’s arrest, the Individual Defendants knew or should have known

that they did not have probable cause to arrest Plaintiff on the charge of failure to identify

fugitive from justice.

152.   In the manner described more fully above, the Individual Defendants conducted a reckless

and unlawful prolonged traffic stop investigation, and knowingly included false statements and

material omissions in the incident report used to justify Plaintiff’s arrest. Absent this misconduct,

the arrest and subsequent prosecution of Plaintiff could not and would not have been pursued.

153.   Additionally, and as explained more fully in the preceding paragraphs, Defendant Dodson,

while acting under the color of state law, deprived Plaintiff of his clearly established rights under

the Fourth Amendment, as applied to the states through the Fourteenth Amendment, by:

           a. Knowingly preparing an incident report for an arrest that contained numerous
              material omissions and false statements;

           b. Presenting the incident report knowing of its falsity and material omissions, yet
              swearing under oath to the truthfulness of its contents;

           c. Going, together with Defendant Guerrero and with the express approval of
              Defendant Hartger, all acting under color of law, to execute the arrest against
              Plaintiff and transport him to jail to be booked on the baseless charge.

154.   Each of the Individual Defendants participated in the reckless and unlawful traffic stop

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investigation of Plaintiff and planned, executed and/or approved of the arrest and prosecution of

Plaintiff knowing that no reasonable suspicion existed to prolong the traffic stop investigation

probable cause did not exist for the charge against him. Defendant Dodson made the material

omissions and false statements in the incident report and narrative at the direction of and/or in

cooperation with Defendants Guerrero and Hartger, as part of their reckless and unlawful

criminal investigation. Defendant Hartger expressly approved and allowed Plaintiff’s arrest

despite the fact that he knew and/or should have known of the material omissions and false

statements in the narrative as a result of the reckless investigation.

155.   The Individual Defendants’ misconduct, as described fully herein, directly resulted in the

unjust arrest and criminal prosecution of Plaintiff, in violation of his rights under the Fourth and

Fourteenth Amendments of the United States Constitution.

156.   Alternatively, the Individual Defendants are liable for failing to intervene in the violation

of Plaintiff’s rights. In the Fifth Circuit “an officer may be liable under § 1983 under a theory of

bystander liability where the officer (1) knows that a fellow officer is violating an individual’s

constitutional rights; (2) has a reasonable opportunity to prevent the harm; and (3) chooses not to

act.” Hamilton v. Kindred, 845 F.3d 659, 663 (5th Cir. 2017).

157.   Defendants Guerrero and Hartger were aware that the investigative detention of Plaintiff

was lacking reasonable suspicion and that the search that was conducted on the name “Eric

Thompson” took place following the unlawful prolonged traffic investigation by Defendant

Dodson, and that no probable cause existed to arrest Plaintiff. Defendants also knew that

Plaintiff’s constitutional rights would be violated if he were to be arrested following a refual to

consent to identifying himself during an unlawful detention where no reasonable suspicion

existed. Defendants had an opportunity to prevent the unlawful arrest of Plaintiff by intervening

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and/or refusing to approve the arrest to prevent other Defendants from violating Plaintiff’s rights

in the manner described above but failed to do so.

158.      Thus, the Individual Defendants violated 42 U.S.C. § 1983 by detaining Plaintiff in

violation of his Fourth Amendment expectation of privacy and guarantee to security from

unreasonable search and seizure without reasonable suspicion and/or probable cause and by failing

to provide supervision and/or proper training, where it was necessary and/or required by law.

159.      The Individual Defendants’ misconduct, as described in this Count, was objectively

unreasonable in light of the facts and circumstances known to them at the time and was undertaken

intentionally with willful indifference to Plaintiff’s constitutional rights.

160.      At the time of Individual Defendants’ actions described herein, no reasonable officer or

investigator with the same information could have believed that his or her actions were lawful in

light of clearly established law. Therefore, the individually named Defendants are not entitled to

qualified immunity.

161.      As a direct and proximate result of Defendants’ misconduct and the violations of

Plaintiff’s constitutional rights, Plaintiff suffered a loss of liberty when he was falsely arrested and

held in custody, and suffered and will continue to suffer emotional distress, embarrassment,

humiliation, physical and psychological harm, pain and suffering, and financial harm, some or all

of which may be permanent.

                              COUNT TWO – 42 U.S.C. § 1983
                          VIOLATION OF FOURTH AMENDMENT
                            Unlawful Seizure and Arrest of a Person
             (Defendants Dodson, Guerrero, and Hartger, in their individual capacities)

162.      Each of the previous paragraphs of this Complaint is incorporated as if fully restated

herein.

163.      No right is held more sacred, or is more carefully guarded, by the common law, than the
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right of every individual to the possession and control of his own person, free from all restraint

or interference of others, unless by clear and unquestionable authority of law. Terry v. Ohio, 392

U.S. 1, 9 (1968). The Fourth Amendment applies to “seizures,” and it is not necessary that a

detention be a formal arrest in order to bear the requirements intended to protect against arbitrary

arrests as well as against unreasonable searches. To determine whether an officer has probable

cause to make a warrantless arrest, courts consider the “totality of the circumstances,” examining

“the events leading up to the arrest” and deciding “whether these historical facts, viewed from

the standpoint of an objectively reasonable police officer, amount to” probable cause. Some

objective justification must be shown to validate all seizures of the person, including seizures

that involve only a brief detention short of arrest.

164.   As described, the Individual Defendants, employees and agents of Defendant City of

Dallas, were acting individually, jointly and in conspiracy, under color of law, when they

unlawfully detained Plaintiff without reasonable suspicion that any violation or crime had been

committed and before conducting a criminal investigation into his identity.

165.   At the time of Defendants Dodson and Guerrero chose to prolong the traffic stop, beyond

the purpose of effectuating the stop, they knew they had no reasonable suspicion to justify the

detention. Defendant Dodson’s performance of the computer check on “Eric Thompson” was

conducted well after the traffic stop investigation had concluded. Therefore, the evidence

pertaining to the warrants was derived only as the direct result of illegal conduct on the part of

the DPD officers.

166.   No objectively reasonable police officer would believe that Defendant Dodson and

Defendant Guerrero were justified in prolonging the traffic stop without reasonable suspicion.

Likewise, no reasonable officer would believe that the officers’ conduct was legal when they

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conducted a criminal investigation of the name shown on the ID badge inside the vehicle, when

they had no reason to believe that the vehicle’s passenger had done anything wrong. Still more,

no justification existed in the unlawful plain view search of the badge, which was not contraband

nor evidence of a crime.

167.     At the time Plaintiff was removed from his vehicle and placed in handcuffs, Defendant

Dodson had not made any attempt to call into dispatch to confirm the alleged warrants.

Therefore, at the time of his arrest, Defendants lacked probable cause to arrest Plaintiff.

168.     When Defendant Hartger spoke to the officers, he failed to request that Defendant

Dodson and/or Defendant Guerrero point to concrete details, circumstances, or evidence that

gave rise to their suspicion of Plaintiff, other than him asserting his constitutional rights to

remain silent and refuses to identify himself when no reasonable suspicion existed. Instead, he

advised Mr. Thompson that his officers were justified in their investigation, which lacked

reasonable suspicion, because they had a mere hunch based on “people with warrants in the

area.”

169.     At the moment the officers removed the Plaintiff from the vehicle and placed him in

handcuffs, he reasonably believed that he was not free to leave. The seizure occurred following

the unlawful detention and investigation by Defendants Dodson and Guerrero.

170.     The Individual Defendants seizure of Plaintiff was the result of conducted a reckless and

unlawful prolonged traffic stop investigation. Absent this misconduct, the arrest and subsequent

prosecution of Plaintiff could not and would not have been seized.

171.     The totality of the circumstances prior to the arrest reveal that the Individual Defendants’

misconduct, as described fully herein, directly resulted in the unjust seizure and arrest of Plaintiff.

Those actions violated Plaintiff’s rights to due process, to equal protection, give rise to Plaintiff’s

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claims pursuant to the Fourth Amendment to the Constitution of the United States and 42. U.S.C.

§ 1983, and their counterparts in the Texas Constitution.

172.      Thus, the Individual Defendants violated 42 U.S.C. § 1983 by unreasonably seizing

Plaintiff in violation of his Fourth Amendment guarantee to security from unreasonable search

and seizure without reasonable suspicion and/or probable cause and by failing to provide

supervision and/or proper training, where it was necessary and/or required by law.

173.      As a direct and proximate result of Defendants’ misconduct and the violations of

Plaintiff’s constitutional rights, Plaintiff suffered a loss of liberty when he was falsely arrested and

held in custody, and suffered and will continue to suffer emotional distress, embarrassment,

humiliation, physical and psychological harm, pain and suffering, and financial harm, some or all

of which may be permanent.

                               COUNT THREE – 42 U.S.C. § 1983
                       VIOLATION OF FOURTEENTH AMENDMENT
                   Violation of Procedural Due Process for Filing False Report
                           (Defendant Dodson, in her individual capacity)

174.      Each of the previous paragraphs of this Complaint is incorporated as if fully restated

herein.

175.      Defendant Dodson knowingly provided a false report to law enforcement and the Dallas

County District Attorney’s Office regarding the incident. But for the false report, Plaintiff would

not have been criminally charged. See e.g. Cole v. Carson, 802 F.3d 752 (5th Cir. 2015), vacated

on other grounds sub nom., Hunter v. Cole, 137 S.Ct. 497 (2016).

176.      An objectively reasonable police officer would have known that providing a false

statement to law enforcement for the purpose of causing a continued detention and unlawful

arrest, would violate clearly established law.

177.      As a result of Defendant Dodson’s fabrication of evidence, Plaintiff was arrested and
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charged with failure to identify fugitive from justice, a Class B misdemeanor punishable by up to

180 days in jail, a fine of as much as $2,000, or both. Plaintiff spent six (6) days in jail, housed in

the mental health unit of the Lew Sterrett Justice Center without reason, lost his new job while in

custody, his living circumstances were diminished, and his life has been in a downward spiral

ever since the unlawful detention and investigation that led to the meritless charge he faced

which were based on the fabricated evidence of Defendant Dodson.

178.      On March 32, 2022, the charges against Plaintiff were dismissed in the interest of justice.

179.      Defendant Dodson was at all times acting under the color of law.

180.      As a direct and proximate result of Defendant Dodson’s conduct, Plaintiff suffered a loss

of liberty when he was falsely arrested and held in custody, and suffered and will continue to

suffer emotional distress, embarrassment, humiliation, physical and psychological harm, pain

and suffering, and financial harm, some or all of which may be permanent.

                            COUNT FOUR– 42 U.S.C. § 1983
               VIOLATION OF FOURTH AND FOURTEENTH AMENDMENT
                                   Failure to Supervise
                       (Defendant Hartger, in his individual capacity)

181.      Each of the previous paragraphs of this Complaint is incorporated as if fully restated

herein.

182.      In a 1983 claim for failure to supervise or train, the plaintiff must show that: “(1) the

supervisor either failed to supervise or train the subordinate official; (2) a causal link exists

between the failure to train or supervise and the violation of the plaintiff's rights; and (3) the failure

to train or supervise amounts to deliberate indifference.” Goodman v. Harris Cty., 571 F.3d 388,

395 (5th Cir. 2009) (quoting Smith v. Brenoettsy, 158 F.3d 908, 911–12 (5th Cir.1998).




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183.    “For an official to act with deliberate indifference, the official must both be aware of facts

from which the inference could be drawn that a substantial risk of serious harm exists, and he

must also draw the inference.” Id. (quoting Smith, 158 F.3d at 912.).

184.    An official’s actual knowledge of a substantial risk may only be inferred if the

“substantial risk” was obvious. Easter v. Powell, 467 F.3d 459, 463 (5th Cir. 2006).

185.    Defendant Hartger’s failure to supervise Defendants Dodson and Guerrero caused a

violation of Plaintiff’s constitutional rights under the Fourteenth and Fourth Amendments.

186.    Defendant Hartger was responsible for supervising the actions of Defendants Dodson and

Guerrero pursuant to DPD policy.

187.    Had Defendant Hartger been properly supervising Defendants Dodson and Guerrero, he

would have noticed the failure of Defendants Dodson and Guerrero to properly investigate the

traffic stop and the prolonged investigation that lacked reasonable suspicion, the discrepancies

between the incident report, and the available evidence. Viewing any of these red flags should

have caused the investigation into Plaintiff to be more thoroughly reviewed, and the lack of

reasonable suspicion for the continued detention following a traffic stop that resulted in an

unlawful investigation of Plaintiff’s identity would have been discovered prior to his arrest and

subsequent prosecution.

188.    Furthermore, had Defendant Hartger been properly supervising Defendants Dodson and

Guerrero, he would’ve reviewed their work in support of the arrest, prior to approving the arrest

of Plaintiff. Had he done so, he would’ve noticed the discrepancies between the incident report

and narrative supplied by Defendant Dodson and the timeline of events and questions, and would

have determined that reasonable suspension did not exist to allow the officers to investigate the identify



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of the Plaintiff, which was the fruit of the poisonous tree in obtaining probable cause for the arrest,

which would have prevented Plaintiff from being falsely arrested and prosecuted.

189.   Thus, Defendant Hartger’s failure to supervise Defendants Dodson and Guerrero directly

caused Plaintiff’s constitutional violations from being falsely arrested and maliciously

prosecuted under the Fourth Amendment to the United States Constitution.

190.   Defendant Hartger was at all times acting under the color of law.

191.   As a direct and proximate result of Defendant Hartger’s conduct, Plaintiff suffered a loss of

liberty when he was falsely arrested and held in custody, and suffered and will continue to suffer

emotional distress, embarrassment, humiliation, physical and psychological harm, pain and

suffering, and financial harm, some or all of which may be permanent.

                               COUNT FIVE– 42 U.S.C. § 1983
                                 MUNICIPAL LIABILITY
                Constitutional Deprivation through Policy, Custom or Practice
                                  (Defendants City of Dallas)

192.   Each of the previous paragraphs of this Complaint is incorporated as if fully restated herein.

193.   Local governing bodies, or municipalities, may be held liable under 42 U.S.C.§1983

for constitutional deprivations committed pursuant to a policy, custom, or practice of the

municipality. Even absent an officially adopted policy, a custom or practice that is so persistent

and widespread that it fairly represents a municipal policy will support liability against the

municipality. A pattern of unconstitutional conduct may be shown on the part of municipal

employees who are not Policymakers.

194.   In addition, a failure to train may give rise to municipal liability if the failure to train

amounts to “deliberate indifference to the rights of persons with whom the [untrained

employees] come into contact.” Canton v. Harris, 489 U.S. 378, 388 (1989).

195.   Defendant City of Dallas knowingly failed to maintain policies, practices, and training
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that met the minimum standards in the industry.

196.   At all times relevant to this action, Defendant City of Dallas has maintained policies,

customs and/or practices that caused and were the moving force behind the violation of

Plaintiff’s constitutional rights, as described in this Complaint.

197.   The acts and/or omissions of each Individual Defendant was caused by said policies,

customs or practices.

198.   The policymakers for Defendants City of Dallas and DPD had actual or constructive

knowledge about said policies, customs or practices and/or were deliberately indifferent as to

said policies, customs or practices.

         1.        Said policies, customs and practices include the following:

              a. Defendant City of Dallas’ policy of failing to sufficiently enforce respect of a
                 civilian’s constitutional rights during traffic stops;

              b. Defendant City of Dallas’ failure to train DPD officers on proper traffic stop
                 investigations and/or the need for reasonable suspicion to prolong a traffic
                 stop;

              c. Defendant City of Dallas’ policy or custom of allowing DPD officers to
                 misrepresent facts in a criminal investigation for personal gain and use false
                 statements, including incident reports, without sufficient justification;

              d. Defendant City of Dallas’ policy or custom of allowing DPD officers to violate
                 policies related to criminal investigations and collection/reporting of evidence;

              e. Defendant City of Dallas’ policy or custom of allowing DPD officers to engage
                 in race-based policing, specifically by disproportionately targeting black people
                 for arrest and prosecution of certain crimes, including failure to identify;

              f. Defendant City of Dallas’ written policies that encourage DPD officers to
                 manipulate investigations and the presentation of evidence in order to secure
                 arrest without the requisite probable cause;

              g. Defendant City of Dallas’ failure to train DPD officers on how to work together
                 to conduct a proper criminal investigation, as opposed to cherry-picking facts
                 to support probable cause;


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199.   Defendant City of Dallas, through their policymakers, had actual or constructive

knowledge about, but were deliberately indifferent to, all of the policies, customs, and practices

of DPD referenced in this Complaint. All such policies, customs, and practices were the

moving force behind, and cause of, the deprivation of Plaintiff’s constitutional rights and resulting

damages.

200.   The conduct of each Individual Defendant as described in this Complaint was caused by

said policies, customs, and practices.

201.   As a direct and proximate result of Defendants’ misconduct and the violations of

Plaintiff’s constitutional rights, Plaintiff suffered a loss of liberty when he was falsely arrested

and held in custody, and suffered and will continue to suffer emotional distress, embarrassment,

humiliation, physical and psychological harm, pain and suffering, and financial harm, some or

all of which may be permanent.

                              COUNT SIX– 42 U.S.C. § 1983
                     VIOLATION OF THE FOURTH AMENDMENT
                              Malicious Criminal Prosecution
            (Defendants Dodson, Guerrero, and Hartger, in their individual capacity)

202.   Each of the previous paragraphs of this Complaint is incorporated as if fully restated herein.

203.   The Fourth Amendment prohibits unreasonable seizures pursuant to legal process,

sometimes referred to as malicious prosecution. Malicious prosecution is actionable as a Fourth

Amendment violation to the extent that the Defendant’s actions cause the Plaintiff to be seized

without probable cause, if the Plaintiff proves the favorable termination of the underlying

criminal case against him.

204.   The Individual Defendants each played a role in having the criminal prosecution for

failure to identify fugitive from justice, commenced against Mr. Thompson on August 13, 2021.

205.   Defendants Dodson and Guerrero acts of conducting an unlawful criminal investigation
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of Plaintiff’s identity, without reasonable suspicion, initiated or procured the prosecution.

Defendant Hartger’s refusal to properly investigate the actions of the officers and justifying their

investigation of Plaintiff based on a mere hunch, aided in the prosecution of Plaintiff.

206.    The criminal complaint contained allegations that:

        “On or about the 13th day of August 2021, did then and there intentionally give a false
        and fictitious name, residence address, and date of birth to I. DODSON, whom defendant
        knew was a peace officer for the City of DALLAS, County of Dallas, State of Texas,
        who had lawfully arrested said defendant and lawfully detained said defendant.”
        (emphasis added)

207.    As described fully herein, at no time did Plaintiff ever give any name, address, nor date of

birth. This was true of every portion of his encounter with Defendant Dodson from the moment she

pulled over the vehicle, conducted an unlawful investigation of Plaintiff without reasonable

suspicion, arrested Plaintiff, and the ride to jail.

206.    After the Plaintiff was held in custody for six (6) days, between August 13, 2021, and

August 19, 2021, before being released on a personal recognizance bond. For 230 days, this

criminal charge lingered over Plaintiff’s head, until March 31, 2022, when the State of Texas’

Motion to Dismiss the charges against Plaintiff was signed in the interest of justice. As such, the

prosecution was terminated in Plaintiff's favor.

208.    Any reasonable law enforcement officer would agree that Plaintiff was innocent of the

charge for failure to identify fugitive from justice, as the evidence of the warrants was only

obtained following the unlawful prolong detention in a traffic stop. Prior to the unlawful

investigation no reasonable suspicion existed that would have required Mr. Thompson to identify

himself as a passenger in the vehicle. Thus, Defendants did not have probable cause for the arrest

as it is it abundantly clear that he was in-fact innocent of the charge.

209.    Defendants, especially Defendant Dodson, acted with malice. Defendant Dodson knew

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that Plaintiff did not commit the crime of failure to identify fugitive from justice, but arrested Mr.

Thompson in retaliation of him practicing his constitutional rights and “not listening” to her. Her

laughter when she told her colleagues, “I get to do the report for this one!” followed by the false

statements and omissions made in the incident report are evidence her ill-will towards Plaintiff

for refusing to comply with her unlawful investigation during a traffic stop.

210.   Plaintiff suffered damages as a result of the prosecution, including humiliation, shame,

fright, mental anguish, loss of past wage earning capacity, injury to reputation, and loss of

personal property.

211.   The acts of the aforenamed Defendants were intentional, wanton, malicious, and

oppressive, entitling Plaintiff to an award of punitive damages.

                                            DAMAGES

212.   As a result of the foregoing unlawful and wrongful acts of Defendants, jointly and

severally, Mr. Thompson suffered anxiety, fear, anger, and depression, and therefore, Mr.

Thompson seeks general damages which include, but are not limited to, the following: both

physical and emotional injury, pain and suffering, and emotional and mental distress, and shock,

past and future.

213.   Said injuries have caused Plaintiff to incur special damages which include but are not

limited to: lost wages, medical expenses, and attorney’s fees.

214.   Pursuant to the Civil Rights Attorney's Fees Award Act, 42 U.S.C.S. §1988, a

prevailing party in a §1983 case is entitled to recover its attorney's fees. Hence, Plaintiff further

prays for all costs and attorney fees associated with bringing the present case to trial. In

addition, Plaintiff prays for punitive damages against the individual Defendants.

215.   Punitive damages are designed to punish and deter persons such as the individual

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Defendants who have engaged in egregious wrongdoing. Punitive damages may be assessed

under §1983 when the defendant’s conduct is shown to be motivated by evil motive or intent, or

when it involves reckless or callous indifference to the federally protected rights of others.

216.   When viewed objectively from the standpoint of the Defendants, at the time of the

occurrence, said Defendants’ conduct involved an extreme degree of risk, considering the

probability and magnitude of the potential harm to others. The Defendants’ actions and

inactions cause them to be liable for punitive damages as they were consciously indifferent to

the Plaintiff's constitutional rights and they did the acts knowingly, such acts being extreme

and outrageous and shocking to the conscience.

217.   As a direct, proximate, and producing cause and the intentional, egregious, malicious

conduct by Defendants, Plaintiff is entitled to recover exemplary and/or punitive damages in an

amount within the jurisdictional limits of this Court.

                                         JURY DEMAND

218.   Plaintiff hereby demands a trial by jury on all issues so triable.

                                             PRAYER

       WHEREFORE, premises considered, Plaintiff Eric Dwayne Thompson requests that

Defendants, be found liable as set forth above, that a judgment be entered against them, and that

Plaintiff be awarded all remedies to which he is entitled under law, including:

       a.      An order declaring that Defendants violated Mr. Thompson's civil rights;

       b.      Actual and compensatory damages against all defendants, both jointly and
               severally, in an amount proved at trial;

       c.      Punitive damages against Defendant sufficient to punish them and to deter
               further wrongdoing;

       d.      Cost of court;

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       e.     Attorneys’ fees;

       f.     Pre-judgment interest at the legal rate;

       g.     Post-judgment interest at the legal rate;

       h.     Such other and further relief, both general and special, at law and in equity, to
              which Plaintiff is justly entitled.

                                             Respectfully submitted this 15th day of June, 2024,

                                             THE LAW OFFICE OF TARYN WALKER, PLLC

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                                             ATTORNEY FOR PLAINTIFF

                                 CERTIFICATE OF SERVICE

       This is to certify that all counsel of record who are deemed to have consented to

electronic service are being served with a copy of this document via the Court’s CM/ECF system

per Local Rule CV-5(a)(3) on this the 16th day of June, 2024.


                                                     ____________________________________
                                                     Taryn N. Walker




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